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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     In re:                                                        Chapter 11

     Stream TV Networks, Inc., et al.1                             Bankr. Case No. 23-10763 (AMC)
                                                                   (Jointly Administered)
                  The Debtors.


                      NOTICE OF APPEAL AND STATEMENT OF ELECTION


 Part 1: Identify the appellant(s)

       1. Name(s) of appellant(s): Visual Semiconductor, Inc.

       2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
          of this appeal:
               For appeals in an adversary proceeding.       For appeals in a bankruptcy case and not
               ☐ Plaintiff                                   in an adversary proceeding.
               ☐ Defendant                                   ☐ Debtor
               ☐ Other (describe) _______________            ☒ Creditor
                                                             ☐ Trustee
                                                             ☐ Other (describe) _____________

 Part 2: Identify the subject of this appeal

       1. Describe the judgment—or the appealable order or decree—from which the appeal is
          taken:

              Order (A) Approving Bidding Procedures and Form of Asset Purchase Agreement in
              Connection with the Sale of Substantially all of the Debtors' Assets, (B) Approving
              Procedures for the Assumption and Assignment of Executory Contracts and Unexpired
              Leases, (C) Approving Procedures for Selection of Stalking Horse Bidder and Bid
              Protections, and (D) Granting Related Relief

       2. State the date on which the judgment—or the appealable order or decree—was entered:

              ECF 811 – November 20, 2024


 1
  The Debtors, together with the last four digits of the Debtors’ federal tax identification numbers, are Stream TV
 Networks, Inc. (4092) and Technovative Media, Inc. (5015). The location of the Debtors’ service address is: 2009
 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.



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 Part 3: Identify the other parties to the appeal

 List the names of all parties to the judgment—or the appealable order or decree—from which the
 appeal is taken and the names, addresses, and telephone numbers of their attorneys (attach
 additional pages if necessary):

     1. Party: Visual Semiconductor, Inc.           Attorney:
                                                    AKERMAN LLP
                                                    Donald N. David, SBN: 304846
                                                    Mark Lichtenstein (Admitted pro hac vice)
                                                    1251 Avenue of the Americas
                                                    37th Floor
                                                    New York, NY 10020
                                                    Telephone: (212) 880-3800
                                                    Email: donald.david@akerman.com
                                                           mark.lichtenstein@akerman.com

                                                    R. Adam Swick (Admitted pro hac vice)
                                                    AKERMAN LLP
                                                    500 West 5th Street, Suite 1210
                                                    Austin, TX 78701
                                                    Telephone: (737) 999-7103
                                                    Facsimile: (512) 623-6701
                                                    Email: adam.swick@akerman.com

                                                    John H. Thompson (Admitted pro hac vice)
                                                    AKERMAN LLP
                                                    750 Ninth Street, N.W. 750
                                                    Washington, D.C. 20001
                                                    Telephone: (202) 824-1760
                                                    Facsimile: (202) 393-5959
                                                    Email: john.thompson@akerman.com

                                                    Leif M. Clark
                                                    Leif M Clark Consulting PLLC
                                                    1105 Bonner
                                                    Houston, TX 77007
                                                    Telephone: (210) 663-5183
                                                    Email: lmclark@leifmclark.com

     2. Party: William A. Homony, Trustee           Attorney:
                                                    ANDREW J. BELLI
                                                    Coren & Ress, PC
                                                    2001 Market Street, Suite 3900
                                                    Philadelphia, PA 19103
                                                    Tel. No.: (215) 735-8700
                                                    Email: abelli@kcr-law.com

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                                                    STEVEN M. COREN
                                                    Kaufman, Coren & Ress, P.C.
                                                    Two Commerce Square, Ste. 3900
                                                    2001 Market Street
                                                    Philadelphia, PA 19103-2713
                                                    Telephone: (215) 735-8700
                                                    Email: scoren@kcr-law.com

                                                    MICHAEL D. VAGNONI
                                                    Obermayer Rebmann Maxwell & Hippel
                                                    LLP
                                                    Centre Square West
                                                    1500 Market Street, Suite 3400
                                                    Philadelphia, PA 19102
                                                    (215) 665-3066
                                                    Fax : (215) 665-3165
                                                    Email: michael.vagnoni@obermayer.com


     2. Party: Hawk Investment Holdings, Ltd.       Attorney:
                                                    K&L GATES LLP
                                                    Steven L. Caponi
                                                    600 King Street, Suite 901
                                                    Wilmington, DE 19801
                                                    Telephone: (302) 416-7000
                                                    Email: steven.caponi@klgates.com

                                                    Margaret R. Westbrook, Esq.
                                                    Aaron S. Rothman, Esq.
                                                    Jonathan N. Edel, Esq.
                                                    K&L GATES LLP
                                                    300 South Tryon Street, Suite 1000
                                                    Charlotte, NC 28202
                                                    Telephone: (704) 331-7400
                                                    Email: margaret.westbrook@klgates.com
                                                    aaron.rothman@klgates.com
                                                    jon.edel@klgates.com

                                                    Thomas A. Warns, Esq.
                                                    K&L GATES LLP
                                                    599 Lexington Avenue
                                                    New York, NY 10022
                                                    Telephone: (212) 536-3900
                                                    Email: tom.warns@klgates.com



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 Part 4: Optional election to have appeal heard by District Court (applicable only in certain
        districts)

 If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
 Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the
 appeal heard by the United States District Court. If an appellant filing this notice wishes to have
 the appeal heard by the United States District Court, check below. Do not check the box if the
 appellant wishes the Bankruptcy Appellate Panel to hear the appeal.

          Appellant(s) elect to have the appeal heard by the United States District Court rather than
          by the Bankruptcy Appellate Panel. ☒

 Dated: New York, New York
        December 4, 2024

                                                AKERMAN LLP

                                                By: /s/ R. Adam Swick
                                                      R. Adam Swick
                                                      (Admitted pro hac vice)
                                                      AKERMAN LLP
                                                      500 West 5th Street, Suite 1210
                                                      Austin, TX 78701
                                                      Telephone: (737) 999-7103
                                                      Facsimile: (512) 623-6701
                                                      Email: adam.swick@akerman.com

                                                       AKERMAN LLP
                                                       Donald N. David, SBN: 304846
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                                                              mark.lichtenstein@akerman.com

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                                                       AKERMAN LLP
                                                       750 Ninth Street, N.W. 750
                                                       Washington, D.C. 20001
                                                       Telephone: (202) 824-1760
                                                       Facsimile: (202) 393-5959
                                                       Email: john.thompson@akerman.com



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                                             Leif M Clark Consulting PLLC
                                             1105 Bonner
                                             Houston, TX 77007
                                             Telephone: (210) 663-5183
                                             Email: lmclark@leifmclark.com

                                             Counsel for Visual Semiconductor, Inc.




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